        Case 1:19-cv-02780-SAG Document 1 Filed 09/20/19 Page 1 of 21



      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND


SHARON ROSENDALE,                            :
individually and on behalf of all others
similarly situated,                          :

        Plaintiff,                           :

        v.                                   :

CARCHEX, LLC                                 :      Case No. 1:19-cv-2780
118 Shawan Road, Suite 210
Baltimore, Maryland 21030                    :

Serve on: Resident Agent:                    :      JURY TRIAL DEMANDED
Cogency Global
1519 York Road                               :
Lutherville, Maryland 21093
                                             :
and
                               :
NATIONAL AUTO INSPECTIONS, LLC
118 Shawan Road, Suite 210     :
Baltimore, Maryland 21030
                               :
Serve on: Resident Agent:
Jason Goldsmith                :
118 Shawan Road, Suite 210
Baltimore, Maryland 21030      :

        Defendants.                          :

                              CLASS ACTION COMPLAINT


        The allegations contained in this Complaint are based on Plaintiff’s personal

knowledge as to Plaintiff’s own conduct and on information and belief as to all other

matters based on an investigation by Plaintiff’s Counsel:


   I.    INTRODUCTION

        1.      Defendants are engaged in deceptive and fraudulent acts involving the

marketing of vehicle service contracts (“VSCs”).        The VSCs are marketed as
       Case 1:19-cv-02780-SAG Document 1 Filed 09/20/19 Page 2 of 21



protecting consumers from large repair bills for vehicles that are no longer covered by

manufacturers’ warranties, but, in reality, the VSCs are sold as part of a marketing

scam that is simply a means for Defendants to unlawfully enrich themselves at the

expense of consumers.

       2.      Plaintiff Sharon Rosendale (“Plaintiff”) brings this class action against

Carchex, LLC and National Auto Inspections, LLC trading as Carchex (collectively

“Carchex” or “Defendants”) for Defendants’ unfair trade practices and false and

misleading representations.

       3.      Plaintiff brings her claims individually and on behalf of a nationwide

class and Pennsylvania sub-class of persons who purchased a VSC marketed by

Carchex within the applicable limitations period.

       4.      Carchex blatantly and fraudulently misrepresents the nature and scope

of coverage and protection afforded by the VSCs it markets.

       5.      As a result of the Defendants’ business practices, Plaintiff and Class

members have been harmed and have suffered actual damages, including

overpayment for their VSCs and out- of-pocket costs for vehicle repairs

II.   JURISDICTION AND VENUE

       6.      This Court has original diversity jurisdiction pursuant to the Class

Action Fairness Act, 28 U.S.C. § 1332(d)(2) (“CAFA”) because Plaintiff and many

members of the Class are citizens of states different from Defendants’ home state, the

aggregate amount in controversy exceeds $5,000,000, exclusive of interest and costs,

and there are more than 100 members in the proposed Class and Classes.

       7.      This Court has personal jurisdiction over Plaintiff because Plaintiff

resides in Pennsylvania and submits to the Court’s jurisdiction.
        Case 1:19-cv-02780-SAG Document 1 Filed 09/20/19 Page 3 of 21



       8.      Venue is proper under 28 U.S.C. § 1391(a) because Defendants have

headquarters in Maryland and are residents of Maryland. This Court has pendent or

supplemental personal jurisdiction over the claims of putative class members outside

of Maryland.

       9.      Venue also is proper in this District under 28 U.S.C. § 1391(b) because

a substantial part of the events or omissions giving rise to Plaintiff’s claims occurred

in this District. Defendants conduct substantial business in Maryland and many of the

actions giving rise to the Complaint arise out of Defendants operating, conducting,

engaging in, or carrying on a business or business venture in this state, committing a

tortious act in this state, and causing injury to persons in this state and elsewhere.

III.   PARTIES

       10.     Plaintiff Sharon Rosendale at all times relevant has been a citizen and

resident of the state of Pennsylvania and resides in Fayette County, PA.

       11.     Defendant Carchex is a Maryland corporation with headquarters

located at 118 Shawan Road, Suite 210, Cockeysville, MD 21030. Carchex is the

successor-in-interest and/or alter ego of Defendant National Auto Inspections, LLC.

       12.     Carchex advertises and markets VSCs throughout the country,

including through its website, www.carchex.com, and through its call centers staffed

with Carchex employees.

       13.     Carchex markets to consumers and intentionally designs its advertising

to give the appearance that it provides comprehensive vehicle warranties.

       14.     Defendant National Auto Inspections, LLC (“NAI”) is a Maryland

corporation with headquarters located at 118 Shawan Road, Cockeysville, MD 21030.

NAI conducts and/or previously did business under the name Carchex, and upon
       Case 1:19-cv-02780-SAG Document 1 Filed 09/20/19 Page 4 of 21



information and belief, shares resources and personnel with Carchex. Among other

things, Carchex and NAI have the same CEO and the same principal office in

Maryland.

IV.   FACTS

       15.     Defendants have concocted a scheme and instituted practices and

policies intended to confuse, deceive and mislead consumers with respect to the

coverage and protection afforded by Carchex VSCs. For example, consumers who

purchase Carchex VSCs which expressly state that they cover repairs to the

“powertrain” and “the engine” reasonably rely upon such representations and expect

the “powertrain” and “engine” of their vehicles to be covered by the VSC.

Defendants, however, market and sell the VSCs knowing that coverage of such repair

items will be summarily disavowed and/or that exclusions of coverage will be so

broadly applied that the practical effect is to make the VSCs worthless.

       16.     Defendants mislead consumers into believing they are purchasing

VSCs that provide comprehensive vehicle protection that purportedly will save the

consumers from paying thousands of dollars for vehicle repairs. In reality, consumers

are sold VSCs that cover little, if anything, and leave consumers paying not only for

the VSCs but also paying for expensive vehicle repairs that Defendants represented

would be covered by the VSCs.

       17.     Had Defendants disclosed the true protection and scope of coverage of

the VSCs, Plaintiff and the putative members of the classes (“Class Members”) would

not have purchased the VSCs or would have paid significantly less for the VSCs.

       18.     On or about July 31, 2018, Plaintiff called Carchex and spoke with a

representative about the coverage afforded by the VSCs offered.
        Case 1:19-cv-02780-SAG Document 1 Filed 09/20/19 Page 5 of 21



       19.     Carchex operates a call center in Maryland with employees who serve

as sales agents.

       20.     Upon information and belief, Carchex sales agents have utilized a

uniform sales script throughout the Class period and are trained to make materially

identical representations and provide the same information to all callers concerning

VSCs and the purported coverage and protection afforded by VSCs.

       21.     When Plaintiff spoke with the Carchex agent, Plaintiff explained that

comprehensive coverage for her vehicle and engine was important to her, particularly

because she had nearly 100,000 miles on her vehicle – a 2013 Chevrolet Avalanche

with VIN      3GNTKGE70DG357175 (Plaintiff’s “vehicle”) – and her extended

warranty was about to expire.

       22.     On or about the same date, Plaintiff also reviewed the Carchex website

at www.carchex.com to learn about the VSCs. Upon information and belief, the

content and representations on the Carchex website have remained substantially the

same throughout the Class period.

       23.     Carchex represented to Plaintiff on the phone and via its website that

the Powertrain Plus (Gold) VSC would provide comprehensive engine and powertrain

coverage, would protect her from expensive engine and powertrain repairs and would

cover repairs to her engine and powertrain.

       24.     Plaintiff understood by what she read and what she was told that she

would be receiving comprehensive coverage for the engine and powertrain of her

vehicle.

       25.     Carchex purposely deceived Plaintiff, and similarly deceives

prospective customers to believe that they will have comprehensive coverage with
       Case 1:19-cv-02780-SAG Document 1 Filed 09/20/19 Page 6 of 21



Carchex VSCs. For example, Carchex advertises on its website:




       26.    On or about July 31, 2018, Plaintiff agreed to purchase a VSC from

Carchex.

       27.    Plaintiff purchased the “Powertrain Plus (Gold)” VSC because

Carchex represented on its website and by its representative on the phone that the

VSC covered the engine and powertrain. Indeed, Carchex represents that the Gold

Coverage is “comprehensive” and “includes components from all major systems”

which makes it “a good fit for vehicles with over 90,000 miles.”

       28.    Specifically, Carchex represents on its website:
        Case 1:19-cv-02780-SAG Document 1 Filed 09/20/19 Page 7 of 21



       29.        Plaintiff’s VSC cost $3,183.00.   Plaintiff provided her credit card

information to the Carchex representative on the phone and agreed to pay $132.63 as

a down payment and twenty-three (23) additional monthly payments of $132.63 each.

       30.        The duration of Plaintiff’s VSC was 60 months and/or 100,000 miles

from the time of purchase. Accordingly, Plaintiff’s vehicle would be covered to

approximately 198,000 miles.

       31.        Carchex represented to Plaintiff, and continues to represent on its

website, that its VSCs cover every significant aspect of an engine, with limited

exclusions. Upon information and belief, the same representations are made by phone

to all prospective consumers.

       32.        As shown in the screenshot from the Carchex website pasted below,

Carchex represents:




       33.        Based on the representations on the website and from what Carchex

represented to Plaintiff on the phone, Plaintiff purchased the “Powertrain Plus (Gold)”

VSC reasonably relying upon the representation that it would cover everything that

makes her vehicle move and was well-suited for her vehicle.

       34.        Carchex intentionally misleads prospective consumers into believing

that the coverage provided by Carchex VSCs is similar to a new car warranty and that

the only exclusions from coverage are maintenance items, such as brake pads, wiper

blades and tires. Specifically, Carchex provides the following questions and answers

on its website:
       Case 1:19-cv-02780-SAG Document 1 Filed 09/20/19 Page 8 of 21




       35.    After clicking on “What is a powertrain warranty? What does it

cover?” from the above section on the website, the website displays the following

page, which among other things, details the extensive coverage of the “engine”:




       36.    With respect to repairs that are not covered, Defendants only identify

vehicle maintenance items or repairs resulting from misused or damaged vehicles as

being excluded, as shown below from the website:
        Case 1:19-cv-02780-SAG Document 1 Filed 09/20/19 Page 9 of 21




       37.     Significantly, the only exceptions to coverage identified to Plaintiff

and other prospective customers on the phone or on the website are things like

windshield cracks or wiper blades, as demonstrated by the following representation

on the website:




       38.     When Plaintiff purchased her VSC, she reasonably and justifiably

relied upon Defendants’ representations that the VSC would cover the engine and

powertrain, and that this specifically included “[a]ll internally lubricated parts within

the engine including: engine mounts, timing belt, timing gears, cylinder head intake

and exhaust valves, valve springs, valve guides, valve seats and all pumps.”

       39.     Defendants intentionally misled Plaintiff and other consumers to

believe that the VSCs will provide comprehensive protection from foreseeable and

expensive vehicle repairs with representations such as the following on the website

and phone:
        Case 1:19-cv-02780-SAG Document 1 Filed 09/20/19 Page 10 of 21




        40.    Based on Defendants’ representations, Plaintiff reasonably expected

that major powertrain and engine repairs would be covered by the VSC she

purchased.

        41.    Plaintiff was unaware that Defendants misrepresent the scope and

nature of coverage under the VSC and that they scheme to defraud consumers. Had

Plaintiff known the engine and powertrain was not covered under the VSC as

represented, she would not have purchased the VSC or would have paid significantly

less for it.

        42.    On August 3, 2018, Carchex mailed the VSC to Plaintiff along with a

letter from its CEO, Jason Goldsmith. Mr. Goldsmith also is the CEO of National

Auto Inspections, LLC. In the letter to Plaintiff, Mr. Goldsmith represented that

Carchex is committed to providing the best products and the best service in the

industry.

        43.    On or about July 1, 2019, Plaintiff brought her vehicle to Uniontown

Chevrolet for inspection and diagnosis of a possible engine problem.

        44.    As of July 1, 2019, Plaintiff had complied with her obligations under

the VSC: she was current on her monthly payments, and her vehicle had just over
       Case 1:19-cv-02780-SAG Document 1 Filed 09/20/19 Page 11 of 21



111,000 miles on it. Accordingly, her VSC was in effect.

       45.      Uniontown Chevrolet suspected a failure of an engine component in

Plaintiff’s vehicle and called the warranty number provided by Carchex, 800-531-

192. Uniontown Chevrolet provided the VIN of Plaintiff’s vehicle and requested that

an inspector or other agent come to see the vehicle before repairs were made.

       46.      The agent for Carchex refused the invitation. Uniontown Chevrolet

then disassembled parts of the engine and again called the number provided by

Carchex to advise that there was a failure involving a piston and exhaust valve.

Uniontown Chevrolet was told on the call that the components were not covered and

that no agent would come to inspect the vehicle.

       47.      Uniontown Chevrolet told the Carchex representative on the phone that

the failed components certainly were part of the powertrain and the internally

lubricated parts of the engine and emphatically stated that the repairs should be

covered under the Plaintiff’s VSC. Nevertheless, Carchex continued to summarily

reject the claim on the call.

       48.      Carchex also falsely assures consumers that should Carchex fail to

perform its obligations under the VSC, the obligations of Carchex are insured by

“American Bankers Insurance.”

       49.      On July 22, 2019, Plaintiff called the number for American Bankers

Insurance which is provided in her VSC. Plaintiff provided her pertinent information

but was immediately told that American Bankers Insurance could not help her with

her claim.

       50.      Because of Defendants’ actions, Plaintiff was forced to pay out of

pocket thousands of dollars for the repair of her engine.
       Case 1:19-cv-02780-SAG Document 1 Filed 09/20/19 Page 12 of 21



       51.     Upon information and belief, Carchex schemes and coordinates its

activities with third parties such as American Bankers Insurance and others so as to

maximize its profit and deceive consumers into purchasing VSCs that Carchex knows

will not provide the coverage or protection as advertised and promoted to the public.

       52.     When Plaintiff and Class Members purchased their VSCs, they

reasonably relied on Defendants’ representations that the VSCs provided

comprehensive engine and powertrain coverage.

       53.     Defendants emphasize on the Carchex website and when speaking with

prospective customers, such as Plaintiff, the comprehensive coverage of the VSCs and

the extremely limited nature of any coverage exclusions.

       54.     With respect to exclusions, Defendants highlight maintenance items

like oil changes, tire rotation and windshield wiper blades as items not covered by

warranties. Plaintiff and Class Members reasonably rely upon such representations

and omissions of fact when purchasing VSCs.

       55.     Upon information and belief, Defendants are aware of numerous

consumers around the country complaining of Defendants' unfair and deceptive

business practices.

       56.     Plaintiff and Class Members would not have purchased their VSCs or

would have paid significantly less for their VSCs if Defendants had not

misrepresented facts and otherwise schemed to defraud consumers.

       57.     Plaintiff and Class Members reasonably relied on Defendants’

representations and paid for what was represented to be comprehensive engine and

powertrain coverage.

       58.     Plaintiff and the Class Members have suffered an ascertainable loss as
        Case 1:19-cv-02780-SAG Document 1 Filed 09/20/19 Page 13 of 21



a result of Defendants’ unfair and deceptive conduct, breach of common law and

statutory duties, and omission and/or misrepresentations associated with the VSCs,

including but not limited to overpaying for VSCs and out-of-pocket losses.

V.     CLASS ACTION ALLEGATIONS

        59.      Plaintiffs bring this action, pursuant to Federal Rules of Civil

Procedure 23(a) and 23(b)(1), (b)(2) and/or (b)(3) on behalf of the following Classes

for the maximum time period allowable by law:

                 Nationwide Class: All persons in the United States who purchased a

VSC.

                 Pennsylvania Class: All persons in Pennsylvania who purchased a

VSC.

        60.      The Nationwide Class and Pennsylvania Class are referred to

collectively as the “Classes.” Plaintiff reserves the right to revise the definition of the

Classes based upon subsequently-discovered information and reserves the right to

establish sub-classes where appropriate.

        61.      The Classes exclude Defendants and any entity in which Defendants

have a controlling interest, as well as their officers, directors, legal representatives,

successors, and assigns. The Classes also exclude government entities and judicial

officers who have any role in adjudicating this matter.

        62.      The Classes are so numerous that joinder of all members is

impracticable.

        63.      Common questions of law and fact exist to all members of the Classes

and predominate over any issues solely affecting individual members of the Classes.

The common and predominating questions of law and fact include, but are not limited
       Case 1:19-cv-02780-SAG Document 1 Filed 09/20/19 Page 14 of 21



to:

       ●        Whether the Defendants misrepresent material facts concerning their

business practices and the protection and coverage afforded by VSCs;

       ●        Whether Defendants intentionally and knowingly falsely represent,

conceal, suppress and/or omit material facts, including the fact that the VSCs do not

cover repairs to the engine and powertrain and all internally lubricated parts and

components;

       ●        Whether Defendants made material misrepresentations and omissions

concerning the standard, quality or grade of the VSCs;

       ●        Whether members of the Classes would have purchased VSCs or paid

less to purchase VSCs if Defendants, prior to purchase, had disclosed the truth about

their business practices and the coverage afforded by the VSCs;

       ●        Whether Defendants misrepresented and/or concealed material facts

from Plaintiffs and members of the Classes in order to, amongst other things, sell

more VSCs;

       ●        Whether Defendants have been unjustly enriched by their actions; and

       ●        Whether damages, restitution, equitable, injunctive, compulsory,

declaratory or other relief is warranted.

       64.      A class action is superior to all other available methods for the fair and

efficient adjudication of this controversy.

       65.      Plaintiff knows of no difficulty to be encountered in the management

of this litigation that would preclude its maintenance as a class action.

       66.      Plaintiff’s claims are typical of the claims of the Classes Plaintiff seeks

to represent.    As alleged herein, Plaintiff and Class Members sustained damages
          Case 1:19-cv-02780-SAG Document 1 Filed 09/20/19 Page 15 of 21



arising out of the same unlawful actions and conduct by Defendants.

          67.   Plaintiff is willing and prepared to serve the Classes in a representative

capacity with all the obligations and material duties necessary. Plaintiff will fairly and

adequately represent and protect the interests of the Classes and has no interests

adverse to or in conflict with the interests of any of the other members of the Classes.

          68.   Plaintiff’s interests are co-extensive with and not antagonistic to those

of absent members within the Classes. Plaintiff will undertake to represent and protect

the interests of absent members within the Classes and will vigorously prosecute this

action.

          69.   Plaintiff has engaged the services of the undersigned counsel, who are

experienced in class actions and other complex litigation, will adequately prosecute

this action, and will assert and protect the rights of, and otherwise represent, Plaintiff

and absent members of the Classes.

          70.   Class action status is warranted under Rule 23(b)(3) because questions

of law or fact common to the members of the Classes predominate over any questions

affecting only individual members, and a class action is superior to other available

methods for the fair and efficient adjudication of this controversy.

          71.   The Classes may also be certified under Rule 23(b)(2) because

Defendants have acted on grounds generally applicable to the Classes, thereby

making it appropriate to award final injunctive relief or corresponding declaratory

relief with respect to the Classes.

          72.   The interest of members within the Classes in individually controlling

the prosecution of separate actions is theoretical and not practical. The Classes have a

high degree of similarity and are cohesive, and Plaintiff anticipates no difficulty in the
         Case 1:19-cv-02780-SAG Document 1 Filed 09/20/19 Page 16 of 21



management of this matter as a class action.

         73.    The nature of notice to the proposed Classes is contemplated to be by

direct mail, email and/or online publication upon certification of the Classes.

VI.      CLAIMS FOR RELIEF

                                        COUNT I

  VIOLATIONS OF PENNSYLVANIA UNFAIR TRADE PRACTICES AND
                 CONSUMER PROTECTION ACT
                   73 P.S. Section 201-1, et seq.

         74.    Plaintiff hereby incorporates by reference the preceding paragraphs as

if they were fully set forth herein.

         75.    Plaintiff brings this count on behalf of herself and the Pennsylvania

Class.

         76.    Section 201-2(3) of the Pennsylvania Unfair Trade Practices and

Consumer Protection Act (“UTPCPA”) defines “trade” and “commerce” to mean the

“advertising, offering for sale, sale or distribution of any services or any property,

tangible or intangible, real, personal or mixed, and any other article, commodity or

thing of value wherever situate, and includes any trade or commerce directly or

indirectly affecting the people of this Commonwealth.”

         77.    Defendants have engaged in trade and commerce in Pennsylvania and

nationally by marketing, advertising and offering for sale VSCs directly to consumers

in Pennsylvania and nationwide.

         78.    In the course of marketing, advertising and offering for sale VSCs, the

Defendants have misrepresented the protection and coverage provided by the VSCs as

well as the exclusions from coverage.

         79.    Defendants’ acts and practices are likely to confuse and mislead
       Case 1:19-cv-02780-SAG Document 1 Filed 09/20/19 Page 17 of 21



consumers acting reasonably under the circumstances as to the protection and

coverage provided by the VSCs as well as the exclusions from coverage.

       80.      As set forth herein, Defendants have engaged in unfair and deceptive

acts and practices in violation of the UTPCPA.

       81.      Defendants have repeatedly and continually engaged in materially

deceptive or misleading consumer-related business practices, and they advertise and

market VSCs with coverage and characteristics that Defendants know are not accurate

or actually provided.

       82.      Defendants’ actions are directed toward consumers and have a broad

negative impact on the public, including Plaintiff and the Pennsylvania Class.

       83.      Defendants’ material misrepresentations were and are substantially

uniform in content, presentation and impact upon consumers at large.

       84.      Plaintiff and the Pennsylvania Class have suffered ascertainable losses

as a result of Defendants’ conduct.

                                       COUNT II

                               COMMON LAW FRAUD

       85.      Plaintiff hereby incorporates by reference the preceding paragraphs as

if they were fully set forth herein.

       86.      Plaintiff brings this count on behalf of herself, the Pennsylvania Class

and/or the National Class against the Defendants.

       87.      Defendants’ business model is founded upon fraud.

       88.      Defendants made and continue to make false and fraudulent statements

and representations of material fact and omit material facts to Plaintiff and the Classes

concerning the coverage and protection afforded by the VSCs and the exclusions of
       Case 1:19-cv-02780-SAG Document 1 Filed 09/20/19 Page 18 of 21



coverage.

       89.     Defendants’ misrepresentations and material omissions of fact are part

of their overall business practices and are substantially similar and uniform.

       90.     Plaintiff and the Classes reasonably and justifiably relied and rely upon

Defendants’ misrepresentations and omissions.

       91.     Defendants’ material misrepresentations were and are substantially

uniform in content, presentation and impact upon consumers at large.

       92.     Plaintiff and the Classes have suffered ascertainable losses as a result

of Defendants’ conduct.

                                      COUNT III

                      NEGLIGENT MISREPRESENTATION

       93.     Plaintiff hereby incorporates by reference the preceding paragraphs as

if they were fully set forth herein

       94.     Plaintiff brings this count on behalf of herself, the Pennsylvania Class

and/or the National Class against the Defendants.

       95.     Defendants made material misrepresentations and other statements and

material omissions in connection with the marketing and advertising of VSCs.

       96.     The misrepresentations were and are false, deceptive and/or misleading

at the time they were made. The omission of material facts also makes Defendants’

representations false, deceptive and/or misleading.

       97.     Defendants at all times relevant knew that their representations were

false, deceptive and/or misleading at the time they were made and knew that they

were omitting material facts.

       98.     Defendants acted with the intent to deceive and mislead Plaintiff and
       Case 1:19-cv-02780-SAG Document 1 Filed 09/20/19 Page 19 of 21



the Classes.

       99.      Plaintiff and the Classes reasonably and justifiably relied and rely upon

Defendants’ misrepresentations and omissions.

       100.     Defendants’ material misrepresentations were and are substantially

uniform in content, presentation and impact upon consumers at large.

       101.     Plaintiff and the Classes have suffered ascertainable losses as a result

of Defendants’ conduct.

                                       COUNT IV

                               UNJUST ENRICHMENT

       102.     Plaintiff hereby incorporates by reference the preceding paragraphs as

if they were fully set forth herein

       103.     Plaintiff brings this count on behalf of herself, the Pennsylvania Class

and/or the National Class against the Defendants.

       104.     By purchasing VSCs, and making payments to Defendants, Plaintiff

and the Classes have conferred benefits upon the Defendants.

       105.     Defendants appreciate and acknowledge the benefits received by

selling VSCs.

       106.     Given the acts of Defendants as set forth above, it is inequitable for

Defendants to retain the benefits received in connection with the sales of VSCs.


                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and all others similarly situated,

respectfully requests that this Court enter judgment against Defendants and in favor of

Plaintiff and the Classes, and award the following relief:

       A.       An order certifying this action as a class action pursuant to Rule 23 of the
       Case 1:19-cv-02780-SAG Document 1 Filed 09/20/19 Page 20 of 21



Federal Rules of Civil Procedure, declaring Plaintiff as representative of the Classes and

Plaintiff’s counsel as counsel for the Classes;

       B.      An order awarding declaratory relief and enjoining Defendants from

continuing the conduct and practices alleged above and requiring Defendants to accept

responsibility for repairs and items which reasonably should be covered by the VSCs;

       C.       An order awarding costs, restitution, disgorgement, compensatory

damages, exemplary damages and/or treble damages as permitted by law, in an amount

to be determined at trial;

       D.      An order requiring Defendants to pay both pre- and post-judgment

interest on any amounts awarded;

       E.      An award of costs, expenses, and attorney’s fees as permitted by law; and

       F.      Such other or further relief as the Court may deem appropriate, just, and

equitable.


                                                    Respectfully submitted,

                                                    STRAVITZ LAW FIRM, PC


                                              By:   /s/ Eric N. Stravitz
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                                                    Attorneys for Plaintiffs and the Proposed
                                                    Classes
Case 1:19-cv-02780-SAG Document 1 Filed 09/20/19 Page 21 of 21




                        DEMAND FOR JURY TRIAL

Plaintiff hereby demands a trial by jury as to all claims in this action.


                                       /s/ Eric N. Stravitz
                                       Eric N. Stravitz (Bar No. 23610)
